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August 5, 2020


VIA ECF

Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

Re:     United States v. Heidi Hong Piao, 15-cr-706 (VSB)

Dear Judge Broderick:

This law firm represents Heidi Hong Piao in the above-referenced matter. We write to request a
modification to Ms. Piao’s bail conditions.

On November 25, 2015, Ms. Piao was released on, inter alia, the following bail condition: $1,000,000
personal recognizance bond co-signed by three financially responsible persons and secured by $500,000
cash and property. (Dkt. Entry No. 47.) Since that time, Ms. Piao’s bail conditions have been modified
on multiple occasions to reduce the restrictions (e.g., removal of electronic bracelet, lifting of curfew,
release of property secured as collateral, release of cash). (See Dkt. Entry Nos. 139, 196, 329, 848, 929.)
Ms. Piao has abided by all bail conditions.

We now request a further modification to the bail conditions: the release of $25,000 of the remaining
$128,000 cash currently securing the $1,000,000 personal recognizance bond. This will result in the
personal recognizance bond being secured by $103,000 cash, which will remain co-signed by the same
three financially responsible persons. The basis for the request is that Ms. Piao is in immediate need of
dental care, which is not covered by insurance, and she is unable to afford the cost at this time.

Please note that this Court previously issued an order directing the Court’s Finance Office to permanently
change the name of depositor on record from Grace Park to Grace Piao. (Dkt. Entry No. 942). The check
shall be made payable to Grace Piao.

The government (via Assistant U.S. Attorney Daniel Richenthal) consents to this request. Ms. Piao’s
Pretrial Services Officer, Francesca Tessier-Miller, does not object to this request. All other bail
conditions shall remain in effect.

Respectfully yours,

/s/ Jamie Gottlieb Furia

Jamie Gottlieb Furia
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cc:   Daniel Richenthal, Assistant U.S. Attorney (via ECF)
      Francesca Tessier-Miller, U.S. Pretrial Services Officer (via Email)
